
90 N.Y.2d 840 (1997)
Ann Bostich et al., Appellants,
v.
United States Trust Corporation et al., Respondents.
Court of Appeals of the State of New York.
Submitted June 2, 1997
Decided June 17, 1997.
Appeal, insofar as taken from that portion of the February 11, 1997 Appellate Division order that denied appellants' motions for reargument and leave to appeal to the Court of Appeals, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that that part of the order does not finally determine the action within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
